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                           EXHIBIT A
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Certificate of Registration
                      This Certificate issued under the seal ofthe Copyright
                      Office in accordance with title 17, United States Code,
                      attests that registration has been made for the work
                      identified below. The information on this certificate has
                      been made a part of the Copyright Office records.
                                                                                         Registration Number:
                                                                                        VAu 996-688
                                4e.$1.4 6Pkte7{,o                                          Effective date of
                      Register of Copyrights, United States of America                       registration:
                                                                                             June 9,2008




  Title
                         Title of Work: INS-7003
                      Nature of Work: Jewelry Design
  Completion/ Publication
              Year ofCompletion: 2008

  Author
                  ■           Author: Bany Nisguretsky
                      Author Created: Jewelry design

              Work made for hire: No
                            Citizen of: United States
                           Year Born: 1966
                         Anonymous: No                                            Pseudonymous: No

  Copyright claimant
             Copyright Claimant: Barry Nisguretsky
                                         c/o Verragio, 132 W. 36th St, 8th Floor, New York,NY 10018


  Limitation of copyright claim
             Previously registered: No

  Certification
                               Name: Barry Nisguretsky
                                 Date: June 12,2008




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                                   Exhibit A
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